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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                     )
                                              )
                    Plaintiff,                )
                                              )
             vs.                              )                8:05CR387
                                              )
DARTAVIAN DESHAWN WATSON,                     )         SCHEDULING ORDER
BILLY DEE SPENCER,                            )
JUAN ANTONIO GARCIA,                          )
                                              )
                    Defendants.               )


       IT IS ORDERED that the following are set for hearing on December 13, 2005 at
9:00 a.m. before Magistrate Judge F.A. Gossett, Courtroom No. 6, Second Floor,
Roman L. Hruska U.S. Courthouse, 111 So. 18 th Plaza, Omaha, Nebraska:

      - Motion to Suppress Evidence [25] filed by Dartavian DeShawn Watson
      - Motion to Suppress Arrest, Statement and Physical Evidence [27] filed by
        defendant Billy Dee Spencer
      - Motion to Suppress [29] filed by defendant Juan Antonio Garcia

      Since this is a criminal case, the defendants must be present, unless excused by
the Court.

      DATED this 18th day of November, 2005.

                                            BY THE COURT:


                                            s/ F.A. Gossett
                                            United States Magistrate Judge
